Case: 1:08-cv-00027-CAS               Doc. #: 12     Filed: 04/10/08       Page: 1 of 9 PageID #: 69



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                 SOUTHEASTERN DIVISION


WILLIAM B. HUTCHEN,                                  )
                                                     )
                        Plaintiff,                   )
                                                     )         No. 1:08-CV-27 CAS
        v.                                           )
                                                     )
WAL-MART STORES EAST I, LP                           )
and DEBBIE JUDEN,                                    )
                                                     )
                        Defendants.                  )

                                     MEMORANDUM AND ORDER

        This removed matter is before the Court on plaintiff William B. Hutchen’s motion to remand

the case to state court. Defendants Wal-Mart Stores East I, LP and Debbie Juden (collectively

referred to as “defendants”) oppose the motion and plaintiff has filed a reply. Plaintiff asserts that this

Court lacks diversity jurisdiction because he has asserted a colorable claim against defendant Juden,

a Missouri resident. Defendants assert that Juden was fraudulently joined in this action and therefore

her citizenship should be disregarded, with the result that complete diversity of citizenship exists. For

the following reasons, the Court will grant plaintiff’s motion to remand.

Background.

        Plaintiff filed this action in the Circuit Court of Stoddard County, Missouri, asserting that he

sustained personal injuries from E. coli poisoning and HUS1 in September 2006 after he purchased

and consumed fresh spinach from the WalMart store in Dexter, Missouri. The petition contains only


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           “HUS” is an abbreviation for hemolytic uremic syndrome, “an uncommon but serious condition
that can cause life-threatening kidney failure, especially for children and older adults.” MayoClinic.com,
Hemolytic Uremic Syndrome (HUS), http://mayoclinic.com/health/hemolytic-uremic-syndrome/DS00876
(last visited Apr. 10, 2008).
Case: 1:08-cv-00027-CAS           Doc. #: 12       Filed: 04/10/08      Page: 2 of 9 PageID #: 70



one count, but appears to assert claims of products liability, breach of warranty and negligence

against the defendants. The defendants are Wal-Mart Stores East I, LP (“Wal-Mart”) and Debbie

Juden, manager of the Dexter Wal-Mart store.

       On February 27, 2008, defendants removed the action to this Court pursuant to 28 U.S.C.

§ 1441, asserting diversity jurisdiction under 28 U.S.C. § 1332. The following facts gleaned from

the petition and the Notice of Removal are relevant to diversity jurisdiction. Plaintiff and defendant

Juden are citizens of Missouri. Wal-Mart is a foreign limited partnership comprised of the following

two partners: WSE Management, LLC, general partner, and WSE Investment, LLC, limited partner.

WSE Management, LLC and WSE Investment, LLC are foreign limited liability companies. The sole

member of WSE Management, LLC and WSE Investment, LLC at all relevant times was Wal-Mart

Stores East, Inc., an Arkansas corporation with its principal place of business in the State of

Arkansas. Wal-Mart is therefore a citizen of Arkansas.

Discussion.

       This Court must “be attentive to a satisfaction of jurisdictional requirements in all cases.”

Sanders v. Clemco Indus., 823 F.2d 214, 216 (8th Cir. 1987). The party invoking jurisdiction bears

the burden of proof that all prerequisites to jurisdiction are satisfied. Hatridge v. Aetna Cas. & Sur.

Co., 415 F.2d 809, 814 (8th Cir. 1969). Removal statutes are strictly construed, and any doubts

about the propriety of removal are resolved in favor of state court jurisdiction and remand. Wilkinson

v. Shackelford, 478 F.3d 957, 963 (8th Cir. 2007) (quoting Transit Cas. Co. v. Certain Underwriters

at Lloyd’s of London, 119 F.3d 619, 625 (8th Cir. 1997), cert. denied, 522 U.S. 1075 (1998)).

       A civil action brought in a state court may be removed to the proper district court where the

district courts have original jurisdiction of the action. 28 U.S.C. § 1441(a). Federal district courts

                                                  2
Case: 1:08-cv-00027-CAS             Doc. #: 12        Filed: 04/10/08       Page: 3 of 9 PageID #: 71



have original jurisdiction in all civil actions between citizens of different states if the amount in

controversy exceeds $75,000.00, exclusive of interest and costs. 28 U.S.C. § 1332(a)(1). Such an

action is removable “only if none of the parties in interest properly joined and served as defendants

is a citizen of the State in which such action is brought.” 28 U.S.C. § 1441(b). In this case, plaintiff

asserts that this action is not removable because Juden is a citizen of Missouri. Defendants counter

that Juden’s joinder is fraudulent and therefore her citizenship is not a bar to removal.

        Removal will not be defeated by collusive or fraudulent joinder of a resident defendant. See

Anderson v. Home Ins. Co., 724 F.2d 82, 84 (8th Cir. 1983). When a party seeking removal alleges

fraudulent joinder, the removing party bears the bears the burden of proving the alleged fraud.

Wilson v. Republic Iron & Steel Co., 257 U.S. 92, 97 (1921). “[I]t is well established that if it is

clear under governing state law that the complaint does not state a cause of action against the

nondiverse defendant, the joinder is fraudulent and federal jurisdiction of the case should be retained.”

Iowa Public Service Co. v. Medicine Bow Coal Co., 556 F.2d 400, 406 n.6 (8th Cir. 1977.)

“However, if there is a ‘colorable’ cause of action--that is, if the state law might impose liability on

the resident defendant under the facts alleged-then there is no fraudulent joinder.” Filla v. Norfolk

Southern Ry. Co., 336 F.3d 806, 810 (8th Cir. 2003). Filla, 336 F.3d at 810.2 “[I]f the nondiverse

plaintiff is a real party in interest, the fact that his joinder was motivated by a desire to defeat federal

jurisdiction is not material.” Iowa Public Service Co., 556 F.2d at 404 (citations omitted).

        “[A] proper review should give paramount consideration to the reasonableness of the basis

underlying the state claim.” Menz v. New Holland North America, Inc., 440 F.3d 1002, 1004 (8th


        2
        The term “colorable” is used to describe a cause of action that is reasonable but speculative. Filla,
336 F.3d at 810, n.10.

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Case: 1:08-cv-00027-CAS              Doc. #: 12        Filed: 04/10/08        Page: 4 of 9 PageID #: 72



Cir. 2006) (quoting Filla, 336 F.3d at 810; internal quotation marks omitted). Thus, “the district

court’s task is limited to determining whether there is arguably a reasonable basis for predicting that

the state law might impose liability based upon the facts involved.” Filla, 336 F.3d at 811.3 “In

making such a prediction, the district court should resolve all facts and ambiguities in the current

controlling substantive law in the plaintiff’s favor.” Id. In deciding whether joinder is fraudulent, the

court may not step from the threshold jurisdictional issue into a decision on the merits. Boyer v.

Snap-On Tools Corp., 913 F.2d 108, 122 (3rd Cir. 1990) (reversing district court’s order denying




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         Defendants argue that the Eighth Circuit’s discussion of fraudulent joinder in Filla v. Norfolk
Southern Railway Co., 336 F.3d 806 (8th Cir. 2003), is dicta of no precedential value, citing Simpson v.
Thomure, 484 F.3d 1081, 1084 (8th Cir. 2007). Filla’s discussion of fraudulent joinder is dicta because
the Court lacked appellate jurisdiction to address the grant of a remand motion. Simpson, 484 F.3d at
1084, n.2. In Simpson, the Eight Circuit’s primary concern with Filla appeared to be that the Court did
not believe the general principle of resolving “all facts and ambiguities in the current controlling substantive
law in the plaintiff’s favor” was a “sound principle for deciding fraudulent joinder issues that turn on the
non-diverse defendant’s alleged immunity from suit”--as was the case in Simpson. Id.

        Filla was an attempt by the Eighth Circuit to articulate the appropriate standard for determining
fraudulent joinder, because prior opinions stated the standard “in varying ways” and district court decisions
were inconsistent. 336 F.3d at 809-10. While the discussion of fraudulent joinder in Filla is dicta, it is
nonetheless considered dicta that this Court may look to for guidance. Further, the Filla standard has been
cited with approval and applied by the Eighth Circuit in other fraudulent joinder cases. See, e.g.,
Wilkinson v. Shackelford, 478 F.3d 957, 963 (8th Cir. 2007); Menz v. New Holland North America, Inc.,
440 F.3d 1002, 1004 (8th Cir. 2006). The Eighth Circuit’s discussions of the fraudulent joinder standard
in Wilkinson and Menz are not dicta.

         Defendants’ position is that Filla improperly states a too-liberal standard for determining if joinder
is fraudulent--i.e., that a party is not fraudulently joined if state law might impose liability on the resident
defendant. Defendants fail to recognize that Filla says “a proper review should give paramount
consideration to the reasonableness of the basis underlying the state claim.” 336 F.3d at 810 (emphasis
added). “[I]f it is clear under governing state law that the complaint does not state a cause of action
against the non-diverse defendant,” then joinder is fraudulent. Id. If, however, “there is a reasonable basis
in fact and law supporting the claim, the joinder is not fraudulent.” Id. Thus, the reasonableness standard
articulated in Filla and reiterated in Menz and Wilkinson is appropriate to apply here.

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Case: 1:08-cv-00027-CAS           Doc. #: 12       Filed: 04/10/08    Page: 5 of 9 PageID #: 73



remand), cert. denied, 498 U.S. 1085 (1991); see Filla, 336 F.3d at 811 (“Like the district court, we

have no power to decide the merits of a case over which we have no jurisdiction.”).

       The issue in this case is whether there is a reasonable basis in state law to support a claim

against defendant Juden under the facts alleged. See Menz, 440 F.3d at 1004. If it is clear under

Missouri law that the complaint does not state a cause of action against Juden, then her joinder is

fraudulent and federal jurisdiction of the case should be retained. See Iowa Public Service, 556 F.2d

at 406. On the other hand, if there is “arguably a reasonable basis for predicting that the state law

might impose liability based upon the facts involved,” Filla, 336 F.3d at 811, then joinder is not

fraudulent and diversity jurisdiction does not exist.

       In the petition, plaintiff alleges that Juden was an agent and employee of defendant Wal-Mart

and was acting within the scope and course of her employment. Petition, ¶ 4. Plaintiff alleges that

the spinach he purchased from defendants was infected with E. coli bacteria, was unfit for human

consumption, was in a defective condition and unreasonably dangerous, and was unmarketable and

unfit for the purpose for which it was intended. Id., ¶¶ 10-11. Plaintiff alleges that the defendants

were negligent in the following ways:

       a. Defendants failed to have in place proper and appropriate processing procedure
       for the detection of contaminated food, and in particular contaminated Spinach
       though they knew or should have known of the risk of such contamination;

       b. Defendants continued to market contaminated Spinach though they knew or should have
       known of the contamination of the product in other states and stores;

       c. Defendants continued to market contaminated Spinach though they knew or should have
       known of a recall of the product in other states and stores;

       d. Defendants failed to remove contaminated Spinach from the shelves in a timely fashion or
       warn of possible contamination;



                                                  5
Case: 1:08-cv-00027-CAS            Doc. #: 12      Filed: 04/10/08       Page: 6 of 9 PageID #: 74



        e. Defendants sold contaminated Spinach to the Plaintiff.

Petition at 3, ¶ 12(a)-(e).

        The Court concludes that Missouri law might reasonably impose liability on Juden based upon

the facts involved. Under Missouri law, employees may be held personally liable to a third party in

certain instances. “First, when an employee has or assumes full and complete control of his

employer’s premises, his liability to the public or to invitees is the same as that of his employer.”

State ex rel. Kyger v. Koehr, 831 S.W.2d 953, 956 (Mo. App. E.D. 1992) (citation omitted)). “A

second situation involves liability on the part of the employee who does not have complete control

of the premises but may be liable for injury to third persons when he breaches some duty which he

owes to such third person.” Id. (citation omitted). In the second situation, “The test is whether [the

employee] has breached his legal duty or been negligent with respect to something over which he did

have control.” Id. (citation omitted).

        It is well established under Missouri law that a “seller of a product who neither knows nor has

reason to know the product is dangerous is not liable in a negligence action for harm caused by the

product’s dangerous condition because of the seller’s failure to discover the danger by an inspection

or test of the product before selling it.” Dorman v. Bridgestone/Firestone, Inc., 992 S.W.2d 231, 239

(Mo. Ct. App. 1999) (citing Restatement (Second) of Torts § 402 (1965); Welkener v. Kirkwood

Drug Store Co., 734 S.W.2d 233, 241 (Mo. Ct. App. 1987); and Willey v. Fyrogas Co., 251 S.W.2d

635, 639 (Mo. 1952)). The defendants primarily rely on this principle in asserting that plaintiff cannot

state a claim against Juden.

        It is also well established under Missouri law, however, that a seller may be held liable in

negligence for injuries caused by a defect in a product which a “a reasonably prudent seller should


                                                   6
Case: 1:08-cv-00027-CAS            Doc. #: 12       Filed: 04/10/08      Page: 7 of 9 PageID #: 75



have discovered . . . before selling the product to the consumer.” Dorman, 992 S.W.2d at 239 (citing

Welkener, 734 S.W.2d at 241); see also Zesch v. Abrasive Co. of Philadephia, 183 S.W.2d 140, 143

(Mo. 1944) (same; citing Restatement (Second) of Torts § 402 and Shroder v. Barron-Dady Motor

Co., 111 S.W.2d 66, 71 (Mo. 1937)). The petition alleges, inter alia, that store manager Juden was

negligent because she “knew or should have known” that contaminated spinach had been found in

other states and stores and had been recalled in other states and stores, but she failed to remove

contaminated spinach from the Dexter Wal-Mart shelves and failed to warn customers of possible

contamination. Such knowledge creates a duty as a matter of Missouri law. See Like ex rel. Like

v. Glaze, 126 S.W.3d 783, 785 (Mo. Ct. App. 2004). Defendants’ argument that Juden does not

have “ultimate responsibility” at the Dexter Wal-Mart raises a factual issue that this Court may not

consider in ruling on the motion to remand.

        For these reasons, the Court concludes that plaintiff’s allegations state a colorable cause of

action in negligence against Juden under the principles discussed in Dorman, 992 S.W.2d at 239, and

provide a reasonable basis to predict that a Missouri court might impose liability on Juden based on

the facts alleged. The Court therefore lacks subject matter jurisdiction over this action and will

remand it to state court.

        In opposing the motion to remand, defendants argue that federal question jurisdiction exists

in this case. Defendants did not assert federal question jurisdiction in their Notice of Removal, and

plaintiff’s petition relies solely on state law. “A defendant may remove a state court claim to federal

court only if the claim originally could have been filed in federal court, and the well-pleaded complaint

rule provides that a federal question must be presented on the face of the properly pleaded complaint

to invoke federal court jurisdiction.” Gore v. Trans World Airlines, 210 F.3d 944, 948 (8th Cir.



                                                   7
Case: 1:08-cv-00027-CAS            Doc. #: 12       Filed: 04/10/08       Page: 8 of 9 PageID #: 76



2000) (citing Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987)), cert. denied, 532 U.S. 921

(2001). A federal question is raised in “those cases in which a well-pleaded complaint establishes

either that federal law creates the cause of action or that the plaintiff’s right to relief necessarily

depends on resolution of a substantial question of federal law.” Peters v. Union Pacific Railroad Co.,

80 F.3d 257, 260 (8th Cir. 1996) (quoting Franchise Tax Bd. of State of Cal. v. Construction

Laborers Vacation Trust for Southern Cal., 463 U.S. 1, 27-28 (1983)). Neither test is met in this

case.

        Defendants assert that a federal defense such as preemption may exist. If so, such a defense

does not provide a basis for removal. “Congress has long since decided that federal defenses do not

provide a basis for removal.” Caterpillar, 482 U.S. at 399. “[A] case may not be removed to federal

court on the basis of a defense, even if the defense in anticipated in the plaintiff’s complaint, and even

if both parties admit that the defense is the only question truly at issue in the case.” Rivet v. Regions

Bank of Louisiana, 522 U.S. 470, 475 (1998) (internal quotations and alterations omitted).

Conclusion.

        For the foregoing reasons, the Court concludes that it lacks subject matter jurisdiction over

this case because complete diversity of citizenship does not exist. 28 U.S.C. §§ 1332(a), 1447(c).

Plaintiff’s motion to remand should therefore be granted.

        Accordingly,

        IT IS HEREBY ORDERED that plaintiff William B. Hutchen’s motion to remand is

GRANTED. [Doc. 8]

        IT IS FURTHER ORDERED that plaintiff’s motion for leave to amend the petition by

interlineation (Doc. 7) remains pending for determination by the state court following remand.



                                                    8
Case: 1:08-cv-00027-CAS         Doc. #: 12      Filed: 04/10/08     Page: 9 of 9 PageID #: 77



       IT IS FURTHER ORDERED that this matter is REMANDED to the Circuit Court of

Stoddard County, Missouri, from which it was removed, for lack of subject matter jurisdiction. 28

U.S.C. § 1447(c).

       An appropriate order of remand will accompany this memorandum and order.




                                                    __________________________________
                                                    CHARLES A. SHAW
                                                    UNITED STATES DISTRICT JUDGE

Dated this 10th day of April, 2008.




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